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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

Raul A. Vasquez,                                        )
                                                        )
                Plaintiff,                              )
                                                        )       Case No. 19 C 6014
        v.                                              )
                                                        )       Judge John Z. Lee
City of Chicago,                                        )
                                                        )
                Defendant.                              )

                                               ORDER

        For the reasons stated herein, Plaintiff’s application for leave to proceed in forma pauperis
[3] is denied. Plaintiff is granted until October 18, 2019 to pay the filing fee or this case will be
dismissed.

                                            STATEMENT

       Plaintiff Raul A. Vasquez, a Chicago police officer, has brought this pro se action against
his employer, the City of Chicago, alleging that he was retaliated against for filing a complaint
with the Equal Employment Opportunity Commission and that he was denied leave under the
Family and Medical Leave Act.

        Ordinarily, a plaintiff must pay a statutory filing fee of $400.00 to bring an action in federal
court. 28 U.S.C. § 1914(a). But the federal in forma pauperis statute, 28 U.S.C. § 1915, provides
indigent litigants an opportunity for meaningful access to the federal courts despite their inability
to pay the costs and fees associated with that access. See Neitzke v. Williams, 490 U.S. 319, 324
(1989). To authorize a litigant to proceed in forma pauperis (“IFP”), a court must make two
determinations: first, whether the litigant is unable to pay the costs of commencing the action, 28
U.S.C. § 1915(a)(1); and second, whether the action is frivolous or malicious, fails to state a claim
upon which relief may be granted, or seeks monetary relief against a defendant who is immune
from such relief. 28 U.S.C. § 1915(e)(2)(B).

        Under the first inquiry, a party may commence an action in federal court, without
prepayment of costs and fees, upon submission of an affidavit asserting an inability “to pay such
costs or give security therefor.” 28 U.S.C. § 1915(a). A person need not be “absolutely destitute”
in order to qualify as indigent and proceed IFP. Adkins v. E.I. DuPont de Nemours & Co., 335
U.S. 331, 339 (1948); Zaun v. Dobbin, 628 F.2d 990, 992 (7th Cir. 1980). Rather, a party is
indigent if, by paying the filing fee, the party will not be able to provide for life’s necessities, both
for him or herself and any dependents. Adkins, 335 U.S. at 339. Ultimately, the determination of
indigency is a fact-intensive inquiry that depends on the statement of assets put forth in a party’s
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application for IFP status. Bomar v. Krueger, No. 415CV04153SLDJEH, 2015 WL 8750650, at
*1 (C.D. Ill. Dec. 14, 2015).
        Here, Vasquez’s application states that both he and his spouse are employed and have a
combined monthly income of $5,200. See IFP App. at 1–2, ECF No. 3. He indicates that he has
received $63,559.48 in salary and wages over the past twelve months. Id. at 2. He states that he
currently has $1,000 in cash, checking, or savings. Id. According to the application, he makes
monthly mortgage payments of $1,880, and monthly car payments of $240. Id. at 3. He states
that he has two dependents and that he contributes a total of $1,500 per month for their support.
Id. Vasquez also indicates that he is currently involved in Chapter 13 bankruptcy proceedings and
that he makes payments of $560 per month to the bankruptcy trustee. Id. at 2.

        According to the 2019 HHS Poverty Guidelines, the guideline for a four-person household
is $25,750. Annual Update of the HHS Poverty Guidelines, 84 FR 1167-02. 2019 WL 399312
(Feb. 1, 2019). Vasquez’s reported income is more than twice that amount––indeed, it exceeds
the guideline by more than $37,000. The fact that Vasquez is currently involved in bankruptcy
proceedings does not change this result.

       Given that Vasquez’s income is significantly above the poverty line, the Court cannot
conclude that payment of the $400 filing fee would render Vasquez unable to provide for life’s
necessities for him and his dependents. Accordingly, the Court does not conduct an analysis under
28 U.S.C. § 1915(e)(2)(B) of whether the action is frivolous or malicious, fails to state a claim
upon which relief may be granted, or seeks monetary relief against a defendant who is immune
from such relief.

      For the foregoing reasons, the Court denies Vasquez’s application to proceed IFP [3].
Vasquez is granted until the above-stated date to pay the filing fee or this case will be dismissed.

       Date:           October 4, 2019                                      /s/John Z. Lee




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